






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00794-CV






Joseph Charles Schoberg and Brandis Hay, Appellants


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 340TH JUDICIAL DISTRICT

NO. C-10-0097-CPS, HONORABLE JAY K. WEATHERBY, JUDGE PRESIDING



						

O R D E R


PER CURIAM


	Appellant Joseph Charles Schoberg filed his notice of appeal on November 14, 2011.
The appellate record was complete on February 13, 2012, making appellant's brief due March 14,
2012.  To date, appellant's brief has not been filed.  On March 29, 2012, appellant's counsel filed
a motion seeking an extension of time to file the brief until April 27, 2012.

	Recent amendments to the rules of judicial administration accelerate the final
disposition of appeals from suits for termination of the parent-child relationship.  See Tex. R. Jud.
Admin. 6.2(a),&nbsp;available at http://www.supreme.courts.state.tx.us/MiscDocket/12/12903200.pdf
(providing 180 days for court's final disposition).  Accordingly, we grant the motion for extension
of time and order counsel to file appellant's brief no later than April 27, 2012.  If the brief is not filed
by that date, counsel may be required to show cause why he should not be held in contempt of court.


	It is ordered on April 6, 2012.



Before Chief Justice Jones, Justices Pemberton and Rose


